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 1
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     Attorney for Defendant
 6   BENJAMIN BUDOFF

 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        No. 08-CR-116 KJM
13                     Plaintiff,                     Benjamin Budoff,
14          v.                                        REQUEST FOR TRAVEL FEES AND
                                                      PROPOSED ORDER
15   BENJAMIN BUDOFF,
16                     Defendant.
17

18          Defendant Benjamin Budoff, by and through his court appointed counsel, Dwight M.
19   Samuel, hereby applies to this Court for an order of subsistence allowance pursuant to Title 18
20
     U.S.C. section 4285, to allow for Mr. Budoff to travel to and from the December 10, 2014 Court
21
     appearance before the Honorable Kimberly J. Mueller District Court Judge. Mr. Budoff is
22
     scheduled to appear on Wednesday, December 10, 2014, at 9:00 a.m., on the 15 floor, Courtroom
23

24   3, of the Federal Courthouse located at 501 I Street, Sacramento, California, 95814.

25          Mr. Budoff resides in Colorado Springs Colorado. Mr. Budoff is requesting, this court

26   order funding for travel from Colorado Springs, Colorado to Sacramento, California. Mr. Budoff
27   would travel on Tuesday, December 9, 2014 to meet with his investigators and attorney and then
28
     appear at 9:00 a.m., on Wednesday, December 10, 2014, before the District Court.
                                                     1
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 1
             Mr. Budoff is requesting the court order payment for a return flight from Sacramento
 2
     California to Colorado Springs, Colorado.
 3
             In the interests of justice the Court is requested to direct the United States Marshal’s
 4

 5   Office to arrange for Benjamin Budoff’s means of non-custodial transportation or furnish the fare

 6   for such transportation as follows:

 7           1- On Tuesday, December 9, 2014, air fare from Colorado Springs, Colorado, to fly Mr.
 8
     Budoff to the Sacramento International Airport, then to provide transportation for Mr. Budoff
 9
     from the Sacramento International Airport to his lodging on Tuesday, February 25, 2014.
10
             2- On Wednesday, December 10, 2014, for transportation from the Federal Courthouse
11
     located at 501 I Street, Sacramento, California, 95814, to the Sacramento International Airport,
12

13   and for air fare to the Denver International Airport.

14           3- On Wednesday, December 10, 2014, for air fare from Sacramento, California, to fly
15   Mr. Budoff to Colorado Springs, Colorado.
16
             In addition, this Court is requested to direct the United States Marshall to furnish Mr.
17
     Budoff with an amount of money for subsistence expenses, not to exceed the amount authorized
18
     as a per diem allowance for travel under Title 5 U.S.C. section 4285(a) pursuant to Title 18
19

20   U.S.C. section 4285.

21           Date: December 2, 2014                                Respectfully submitted,

22                                                                     /s/ Dwight M. Samuel
23                                                                 Dwight M. Samuel
24                                                                 Attorney for Defendant
                                                                   Benjamin Budoff
25   /////

26   /////
27
     /////
28
     /////
                                                       2
       Case 2:08-cr-00116-KJM Document 628 Filed 12/03/14 Page 3 of 3

 1
                                                   ORDER
 2
             GOOD CAUSE APPEARING AND IN THE INTERESTS OF JUSTICE IT IS
 3
     ORDERED THAT the United States Marshal for the Eastern District of California is authorized
 4

 5   and directed to furnish the above named defendant Benjamin Budoff with round trip

 6   transportation as follows:

 7           1- On Tuesday, December 9, 2014, air fare from Colorado Springs, Colorado, to fly Mr.
 8
     Budoff to the Sacramento International Airport, then to provide transportation for Mr. Budoff
 9
     from the Sacramento International Airport to his lodging on Tuesday, December 10, 2014.
10
             2- On Wednesday, December 10, 2014, for transportation from the Federal Courthouse
11
     located at 501 I Street, Sacramento, California, 95814, to the Sacramento International Airport.
12

13           3- On Wednesday, December 10, 2014, for air fare from Sacramento, California, to fly

14   Mr. Budoff to Colorado Springs, Colorado.
15           In addition, this Court is directing the United States Marshall to furnish Mr. Budoff with
16
     an amount of money for subsistence expenses, not to exceed the amount authorized as a per diem
17
     allowance for travel under Title 5 U.S.C. section 4285(a) pursuant to Title 18 U.S.C. section
18
     4285.
19

20           The court further finds Mr. Budoff is indigent and financially unable to travel from

21   Denver to Sacramento and return to Denver, without transportation and lodging and subsistence

22   expenses.
23           This request is authorized pursuant to Title 18 U.S.C. section 4285.
24
     Dated: December 3, 2014
25
                                                      _____________________________________
26                                                    CAROLYN K. DELANEY
                                                      UNITED STATES MAGISTRATE JUDGE
27

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                                                      3
